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                         IN THE UNITED STATES DISTRICT COURT

                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                                 CRIMINAL NO.       18-

                                                         DATE FILED:
             v
                                                         VIOLATIONS:
                                                         18 U.S.C. $ 1341 (mail fraud - 3 counts)
KAREN JORDAN                                             18 U.S.C. $ 641 (conversion of government
                                                         funds - I count)
                                                         42 U.S.C. $ a08(a)(a) (social security fraud    -
                                                         I count)
                                                         Notice of forfeiture


                                         INDICTMENT
                                COUNTS ONE THROUGH THREE

                                             (Mail Fraud)

  THE GRAND JURY CHARGES THAT:

                                          INTRODUCTION

                 At all times relevant to this indictment:

                 1.      The Social Security Administration ("SSA"), un agency of the United

  States, administered certain government benefit programs, including the Retirement and

  Survivor's Insurance ("RSI") benefit program, pursuant to Title 42,United States Code, Sections

  40t-433.

                 2.      The RSI program was an eamed-right program funded through Social

  Security wage taxes. When an individual worked, that individual paid taxes on his or her wages

  into the Social Security trust fund. If that individual paid sufficient Social Security taxes to eam



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sufficient "credits," as that term was defined for purposes of the Social Security Act, he or she,

or eligible dependents, including spouses, were eligible to receive retirement benefits upon

reaching acertainage.

               3.      RSI payments continued until the individual died.

               4.      The grandmother of defendant KAREN JORDAN, known to the grand

jury and identified herein   as   "C.J.," received RSI benefits during her lifetime. No other

individual was entitled to the benefits designated for C.J. The SSA provided these benefits

through monthly paper checks mailed to C.J. at her home address.

               5.      C.J. died on or about July 3, 2000.

               6.      SSA had no record of timely notification of C.J.'s death and continued to

mail paper benefits checks to C.J. at her home address.

                                     THE SCHEME TO DEFRAUD

               7   .   From on or about July 3, 2000 through on or about February 6,2014,

defendant

                                          KAREN JORDAN,

and others known and unknown to the grand         jury, devised and intended to devise a scheme to

defraud the SSA and to obtain money from the SSA in the form of benefit payments intended for

C.J. by fraudulently converting to her own use the SSA benefits checks intended for C.J. that

defendant KAREN JORDAN was not entitled to receive.

               8.      It was the object of the scheme described in paragraphT for defendant

KAREN JORDAN to receive approximately $202,143.00 in SSA payments intended for C.J. that

she was not entitled to receive.



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                                   MAI\NER AND MEANS

       It was part of the scheme that:

               9.     KAREN JORDAN concealed the death of C.J. so that C.J.'s SSA benefits

checks would continue to issue.

               10.    From time to time, KAREN JORDAN asked others to cash C.J.'s benefits

checks. These individuals often received a portion of the value of each check in exchange for

cashing the checks presented to them by I(AREN JORDAN.

               11.    On or about July 3, 2000 to on or about February 6,2014, defendant

KAREN JORDAN, and others known and unknown to the grand jury, fraudulently obtained and

converted to their own use approxima tely $202,143.00 in SSA beneflts payments intended for

C.J.

               12.    On or about the following dates, in Philadelphia, in the Eastern District   of

Pennsylvania, and elsewhere, defendant

                                         KAREN JORDAN,

and others known and unknown to the grand    jury, for the purpose of executing the scheme

described above, knowingly caused to be delivered by mail the following matter described below

for each count, each mailing constituting a separate count:




                                                J
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COUNT           DATE                             DESCRIPTIO'.'i' OF MAILING

                                 United States Treasury check made payable to C.J. in the
 7\       December 3,2013
                                 amount of $1414.00.
                                 United States Treasury check made payable to C.J. in the
 /1,      January 3, 2014
                                 amount of$1437.00.
                                 United States Treasury check made payable to C.J. in the
 .A" 3    February 3, 2014
                                 amount of$1437.00.
            All in violation of Title 18, United States Code, Section 1341.




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                                         COUNT FOUR

                              (Conversion of Government Funds)

THE GRAND JURY FURTHER CHARGES THAT:

                1.     Paragraphs 1 through 6 and 9 through   1   1   of Counts One through Three   of

this indictment are realleged here.

                2.     From on or about July 3, 2000 through on or about February 6,2014, rn

the Eastern District of Pennsylvania, and elsewhere, defendant

                                      KAREN JORDAN,

and others known and unknown to the grand     jury, knowingly converted to their own     use money

of the United States in excess of $1,000, that is, approximately $202,143.00 in SSA payments

intended for C.J., who was deceased, and which funds defendant KAREN JORDAN was not

entitled to receiye.

        In violation of Title 18, United States Code, Section 641.




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                                          COUNT FIVE

                                      (Social Security Fraud)

THE GRAND JURY FURTHER CHARGES THAT:

               1.      Paragraphs 1 through 6 and 9 through     1   1   ofCounts One through Three of

this indictment are realleged here.

               2.      From on or about July 3, 2000 to on or about February 6,2014, in the

Eastem District of Pennsylvania, and elsewhere, defendant

                                       KAREN JORDAN

in a matter within the jurisdiction of the SSA, having knowledge of the death of C.J., an event

affecting her initial and continued right to any SSA RSI payments, knowingly and willfully

concealed and failed to disclose the death of C.J. with the intent fraudulently to secure

approximately $202,143.00 in SSA RSI payments.

               In violation of Title 42,United States Code, Section a08(a)( ).




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                                         NOTICE OF FORFEITURE

THE GRAND JURY CHARGES THAT:

                  1   .       As a result of the violations of Title 1 8, United States Code, Sections 1 341

and   64|   set forth     in Counts One through Four of this Indictment, defendant

                                              KAREN JORDAN

shall forfeit to the United States of America:

        (a)       any property,real or personal, that constitutes or is derived from proceeds

                  traceable to the commission of such offense; including but not limited to the sum

                  of $202,143.00.

                  2.          If any of the property subject to forfeiture,   as a result of any act or

omission of the defendant:

                  (a)         cannot be located upon the exercise ofdue diligence;

                  (b)         has been transferred or sold to, or deposited    with,   a   third party;

                  (c)         has been placed beyond the      jurisdiction of the Court;

                  (d)         has been substantially diminished in value; or

                  (e)         has been commingled    with other property which cannot be divided

                              without difficulty;

it is the intent of the United      States, pursuant to   Title 28, United States Code, Section 2461(c),

incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other

property of the defendant(s) up to the value of the property subject to forfeiture.




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              All pursuant to Title 28, United   States Code, Section 2461(c), and   Title   18,


United States Code, Section 981(aX1XC).



                                                      A TRUE BILL:




                                                      GRAND JURY FOREPERSON




            M. McSWAIN
United States Attorney




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